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June 23, 2023

VIA ECF

Chambers of Hon. Nelson S. Román
U.S District Court for the
Southern District of New York
United States Courthouse
300 Quarropas Street
White Plains, NY 10601

Re:          Lurenz v. The Coca-Cola Company et al., No. 7:22-cv-10941-NSR – Joint Request to
             Modify Schedule

Dear Hon. Nelson S. Román:

        We are counsel for Defendants The Coca-Cola Company and The Simply Orange Juice
Company (“Defendants”) in the above-referenced action. I write on behalf of the Parties in this
action pursuant to Local Civil Rule 7.1(d) and Paragraphs 1.A and E of Your Honor’s Individual
Practices in Civil Cases to jointly request that the Court modify the current briefing schedule on
Defendants’ forthcoming motion to dismiss. Specifically, the Parties jointly request that the
Court:

             -     Grant Plaintiff leave to file an Amended Complaint by July 14, 2023;

             -     Grant Defendants leave to file a motion to dismiss and set the following briefing
                   schedule: (a) Defendants’ moving papers are to be served by August 14, 2023; (b)
                   Plaintiff’s opposition papers are to be served by September 14, 2023; and (c)
                   Defendants’ reply papers are to be served by September 29, 2023.

        On May 22, 2023, Defendants submitted a letter motion requesting a pre-motion
conference concerning Defendants’ anticipated motion to dismiss. (Dkt. 18). After Plaintiff
submitted a response letter (Dkt. 20), the Court entered an order waiving the pre-motion
conference, granting Defendants leave to file a motion to dismiss, and setting a briefing schedule
for the Parties’ submissions. (Dkt. 21). The current deadline for serving Defendants’ moving
papers is June 30, 2023. See id.

          Counsel for Plaintiff have informed counsel for Defendants that Plaintiff intends to file an
Amended Complaint. To allow Plaintiff adequate time to amend the operative Complaint and in
light of the upcoming Fourth of July holiday, Plaintiff requests that he be granted leave to file his
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            amended pleading by July 14, 2023. Additionally, Defendants request that they be granted to and
            including August 14, 2023 (31 days from the Amended Complaint deadline) to serve their moving
            papers in support of the Motion to Dismiss so that Defendants have sufficient time to review and
            respond to Plaintiff’s amended pleading. The remainder of the proposed briefing schedules—the
            deadlines for Plaintiff’s opposition papers and for Defendants’ reply papers—is consistent with
            the Court’s May 30, 2023 briefing schedule. See (Dkt. 21).

                    This is the first joint request by the Parties for an extension and modification of the
            briefing schedule and the second request for an extension in the case. On March 6, 2023,
            Defendants submitted a letter motion requesting a 60-day extension to the deadline for
            Defendants to respond to Plaintiff’s Complaint. (Dkt. 10). The Court granted Defendants’ letter
            motion on March 7, 2023. (Dkt. 11).

                   Counsel for the Parties have conferred, and the jointly submit this request for the Court’s
            consideration. There are presently no scheduled conferences, and (apart from the briefing
            schedule at issue in this request) there presently are no other pending deadlines in this action.

                    We thank the Court for its consideration.

                                                                     Respectfully Submitted,

                                                                     /s/ Angela M. Spivey

                                                                     Angela M. Spivey

            cc: Counsel of Record (via email)



The parties' joint request to allow Plaintiff leave to amend the Complaint and to adjourn the briefing schedule is
GRANTED. Plaintiff is directed to file an Amended Complaint by July 14, 2023. The motion schedule is adjourned as
follows:

(a) Defendants’ moving papers are to be served by August 14, 2023;
(b) Plaintiff’s opposition papers are to be served by September 14, 2023; and
(c) Defendants’ reply papers are to be served by September 29, 2023.

All motion papers are to be filed by the parties on the reply date, September 29, 2023. The parties are directed to
provide Chambers with two physical courtesy copies of their motion papers on the same date they are served on
opposing counsel. The parties are further directed to provide the Court with an electronic courtesy copy of the motion
papers as they are served per this Court's local emergency civil rules. The Clerk of Court is respectfully directed to
terminate the motion at ECF No. 22.

Dated: June 23, 2023
White Plains, NY
